914 F.2d 1495w
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Erwin R. WUNDER, Defendant-Appellant.
    No. 89-3618.
    United States Court of Appeals, Sixth Circuit.
    Sept. 28, 1990.
    
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      NOTE: THE COURT HAS WITHDRAWN THIS OPINION. SEE 919 F.2d 34.
    
    